        Case 1:17-cr-00048-SPW Document 52 Filed 09/05/17 Page 1 of 1


                                                                           FILED
                IN THE UNITED STATES DISTRICT COURT                             SEP O5 2017
                    FOR THE DISTRICT OF MONTANA                            Clerk, U.S. District Court
                                                                             District Of Montana
                          BILLINGS DIVISION                                         Billings


 UNITED STATES OF AMERICA,                    Case No. CR-17-48-BLG-SPW-2

                 Plaintiff,                   ORDER RESETTING HEARING
                                               ON MOTION TO SUPPRESS
 vs.

 CURTIS WAYNE OLSON and
 KRISTA LEAH ANDERSON,

               Defendants.


       Upon Defendant Anderson's Unopposed Motion to Reset Hearing on

Motion to Suppress (Doc. 50), and for good cause being shown,

       IT IS HEREBY ORDERED that Defendant's Motion to Reset Hearing on

Defendant's Motion to Suppress is GRANTED.            The hearing currently set for

October 13, 2017, is VACATED and RESET for Friday, September 29, 2017 at

9:30 a.m., in the Snowy Mountains Courtroom at the James F. Battin Courthouse,

Billings, Montana.

       The clerk is directed to notify counsel and the United States Marshals

Service of the entry of this Order.

       DATED this ~y of SeptTOl7.

                                       ~~~~~~.__,_~-=--~t<A::::...-=.....:~~=--
                                       SUSANP. WATTERS
                                       United States District Judge



                                          1
